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                               EXHIBIT 2
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VIRGINIA:
             In the Court of Appeals of Virginia on Thursday the 16th day of February, 2023.


J       M     and
    S         M ,                                                                                   Petitioners,

against             Record No. 1855-22-2
                    Circuit Court No. CL22000186-00

A            A   and
    F       A  ,                                                                                    Respondents.


                           Upon a Petition for Review Under Code § 8.01-675.5(A)


        On January 9, 2023, respondents, by counsel, moved to amend the caption in this appeal to replace the

names of each party with initials of the party’s first and last name. Petitioners, by counsel, timely opposed

the motion.

        Upon “showing of special circumstances when a party’s need for anonymity outweighs the public’s

interest in knowing the party’s identity and outweighs the prejudice to the opposing party, a court may

exercise its discretion to allow a party to proceed anonymously.” Am. Online, Inc. v. Anon. Publicly Traded

Co., 261 Va. 350, 364 (2001). Among other factors, a court evaluating a request to proceed anonymously

should consider whether “the justification asserted by the requesting party is merely to avoid the annoyance

and criticism that may attend any litigation or is to preserve privacy in a matter of sensitive and highly

personal nature” and “identification poses a risk of retaliatory physical or mental harm to the requesting party

or even more critically, to innocent non-parties.” Id. at 363 (quoting James v. Jacobson, 6 F.3d 233, 238 (4th

Cir. 1993)). Additionally, the evaluation should consider “the risk of unfairness to the opposing party from

allowing an action against it to proceed anonymously.” Id. (quoting James, 6 F.3d at 238).

        Respondents allege that their safety and the safety of their families in their home country “could be

threatened if their presence in the United States and the subject matter of this lawsuit become public.” In

response, petitioners contend that the relevant factors weigh against respondents. They assert that
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respondents’ interactions with the media demonstrate that they have not treated the underlying litigation’s

subject matter as “sensitive and highly personal” and undermine their claim that identification would put

them in danger. Petitioners also contend that they would be “highly prejudic[ed]” by allowing the

proceedings to go forward anonymously, because petitioners’ names have been used in media and social

media while respondents “continue to enjoy the cloak of pseudonymity.”

       The underlying litigation concerns respondents’ attempt to undo a final order of adoption of a child

who they assert belongs with their family. Respondents assert that they and their family members face danger

if respondents’ presence in the United States and participation in the underlying litigation becomes known in

respondents’ home country.

       Upon consideration of the motion and petitioners’ opposition thereto, we find that it is appropriate to

allow the parties to proceed under their initials, especially given that respondents assert that the danger

flowing from identification affects not only themselves but also family members who are not parties to the

underlying litigation. Am. Online, Inc., 261 Va. at 363, 364. Therefore, respondents’ motion is granted, and

the style of this case hereby is amended to substitute the parties’ initials for their names. Accordingly, the

case must hereinafter be styled as J.M. and S.M. v. A.A. and F.A.



                                          A Copy,

                                                  Teste:

                                                                      A. John Vollino, Clerk

                                                  By:

                                                                      Deputy Clerk




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